                                                                         Case 2:19-bk-24804-VZ             Doc 647 Filed 04/20/20 Entered 04/20/20 20:18:40                            Desc
                                                                                                            Main Document     Page 1 of 4


                                                                         1   Richard M. Pachulski (CA Bar No. 90073)
                                                                             Jeffrey W. Dulberg (CA Bar No. 181200)
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                                                                         7   Attorneys for Debtor and Debtor in Possession

                                                                         8                                   UNITED STATES BANKRUPTCY COURT

                                                                         9                                    CENTRAL DISTRICT OF CALIFORNIA

                                                                        10                                             LOS ANGELES DIVISION

                                                                        11   In re:                                                       Case No.: 2:19-bk-24804-VZ
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12   YUETING JIA,1                                                Chapter 11
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13                                       Debtor.                  DECLARATION OF YUETING JIA IN
                                              ATTOR NE YS A T L AW




                                                                                                                                          SUPPORT OF INTERIM APPLICATIONS
                                                                        14                                                                FOR APPROVAL OF COMPENSATION
                                                                                                                                          AND REIMBURSEMENT OF EXPENSES
                                                                        15                                                                FOR ESTATE PROFESSIONALS IN
                                                                                                                                          ACCORDANCE WITH LOCAL
                                                                        16                                                                BANKRUPTCY RULE 2016-1(a)(1)(J)

                                                                        17

                                                                        18                                                                Hearing:
                                                                                                                                          Date: May 7, 2020
                                                                        19                                                                Time: 1:30 p.m.
                                                                                                                                          Place: Courtroom 1368
                                                                        20                                                                        Roybal Federal Building
                                                                                                                                                  255 E. Temple Street
                                                                        21                                                                        Los Angeles, California 90012

                                                                        22                                                                Judge: Hon. Vincent P. Zurzolo

                                                                        23
                                                                                      I, Yueting Jia, declare as follows:
                                                                        24
                                                                                      1.       I am the debtor and debtor in possession herein (the “Debtor”).
                                                                        25
                                                                                      2.       Except as otherwise stated, all facts contained within this Declaration are based upon
                                                                        26
                                                                             personal knowledge (albeit my own or that gathered from others at my direction), my review of
                                                                        27

                                                                        28   1
                                                                              The last four digits of the Debtor’s federal tax identification number are 8972. The Debtor’s mailing address is 91
                                                                             Marguerite Drive, Rancho Palos Verdes, CA 90275.

                                                                             DOCS_LA:329016.1 46353/002
                                                                         Case 2:19-bk-24804-VZ            Doc 647 Filed 04/20/20 Entered 04/20/20 20:18:40              Desc
                                                                                                           Main Document     Page 2 of 4


                                                                         1   relevant documents, or my opinion. If called upon to testify, I would testify to the facts set forth in

                                                                         2   this Declaration. This Declaration is filed in accordance with Local Bankruptcy Rule 2016-

                                                                         3   1(a)(1)(J).

                                                                         4           3.       I have reviewed the (1) first interim fee application of Pachulski Stang Ziehl & Jones

                                                                         5   LLP including the bills that are attached as exhibits thereto filed by Pachulski Stang Ziehl & Jones,

                                                                         6   LLP, bankruptcy counsel for the Debtor; (2) first interim fee application of O’Melveny & Myers

                                                                         7   LLP including the bills that are attached as exhibits thereto filed by O’Melveny & Myers LLP,

                                                                         8   special corporate, litigation, and international counsel to the Debtor; (3) first interim fee application

                                                                         9   of PQBDN LLC including the bills that are attached as exhibits thereto filed by PQBDN LLC,

                                                                        10   financial advisor to the Debtor; and (4) first interim fee application of Epiq Corporate Restructuring

                                                                        11   LLC including the bills that are attached as exhibits thereto filed by Epiq Corporate Restructuring
P ACHULSKI S TAN G Z IE HL & J O NES LLP




                                                                        12   LLC, administrative advisor to the Debtor (collectively, the “Applications”). I have no objection to
                                           LOS ANGELES, C ALIFO R NIA




                                                                        13   to the Court’s approval of each of the Applications.
                                              ATTOR NE YS A T L AW




                                                                        14           I declare under penalty of perjury under the laws of the State of California and the United

                                                                        15   States of America that the foregoing is true and correct.

                                                                        16           Executed this20th
                                                                                                   ___ day of April, 2020 at Rancho Palos Verdes, California.

                                                                        17
                                                                                                                           _______________________________
                                                                        18                                                 Yueting Jia
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            Case 2:19-bk-24804-VZ                 Doc 647 Filed 04/20/20 Entered 04/20/20 20:18:40                                       Desc
                                                   Main Document     Page 3 of 4

                                         PROOF OF SERVICE OF DOCUMENT
 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 10100 Santa Monica Boulevard, 13th Floor, Los Angeles, CA 90067

 A true and correct copy of the foregoing document entitled (specify): DECLARATION OF YUETING JIA IN SUPPORT OF
 INTERIM APPLICATIONS FOR APPROVAL OF COMPENSATION AND REIMBURSEMENT OF EXPENSES FOR
 ESTATE PROFESSIONALS IN ACCORDANCE WITH LOCAL BANKRUPTCY RULE 2016-1(a)(1)(J) will be served or
 was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
 below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 April 20, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


                                                                                          Service information continued on attached page

 2. SERVED BY UNITED STATES MAIL:
 On (date)                           , I served the following persons and/or entities at the last known addresses in this
 bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
 States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
 mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

 3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
 each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                   , I served the
 following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
 service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
 personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 April 20, 2020     Myra Kulick                                                               /s/ Myra Kulick
 Date                      Printed Name                                                       Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:328028.1 46353/002
        Case 2:19-bk-24804-VZ                Doc 647 Filed 04/20/20 Entered 04/20/20 20:18:40                                       Desc
                                              Main Document     Page 4 of 4


SERVICE INFORMATION FOR CASE NO. 2:19-bk-24804-VZ
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF)

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    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
June 2012                                                                            F 9013-3.1.PROOF.SERVICE
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